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RICHARD D. BENNETT 2070 JOC Be area STREET
UNITED STATES DISTRICT JUDGE thane MD 21201
NORTHERN DIVISION CLERK'S 50 pe L: 410-962-3190

AT BALTIMG AX: 410-962-3177

July 15,2020 gy
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LETTER ORDER

To Counsel of Record: Securities and Exchange Commission v. Merrill et al.

Civil Action No. RDB-18-2844

Dear Counsel:

This letter confirms the results of today’s telephone conference, held off the record.
Pursuant to this Court’s discussion with counsel:

1. For the reasons discussed during the telephone conference, the STAY,
implemented in this case on October 25, 2018 (ECF No. 42) is LIFTED and this
case shall proceed accordingly;

2. Defendant Amanda Merrill’s Motion for Return of Property (ECF No. 318) is
DENIED as premature;

3. Defendant Amanda Merrill shall file a any responsive pleading as follows:

 

Defendant Amanda Merrill’s | Friday, July 31, 2020
responsive pleading

 

Plaintiff SEC’s response Friday, August 21, 2020

 

Defendant Amanda Merrill’s | Monday, August 31, 2020
Reply

 

 

 

 

Notwithstanding the informal nature of this letter, it is an Order of this Court and the

Clerk is directed to docket it as such.
Sincerely, D p. p :

Richard D. Bennett
United States District Judge
